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          EXHIBIT 36
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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       Abuse Threat in Watch Next
       5/29/2019, heldt@




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     Everything starts
     Everything starts with
                       with Users
                            Users




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     User Interaction Logs


    8               Search("foo   bar")~ Watch(v10) ~ Search("foo bar")~ Watch(v59)

    B               Home      ~ Watch(v93) ~ WN ~ Watch(v20) ~ Home ~ Watch(v9)

     ~ External~ Watch(v3) ~External~ Watch(v12) ~ WN ~ Watch(v9) ~ WN ~ Watch(v40)
                         •••

    81              Watch(v6)     ~ Endscreen ~ Watch(v1)

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     Discovery task



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          User/Context                                       "'O
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     Nomination:




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     Nomination:




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     Ranking:

     Do fine-grained reranking to maximize RASTA metrics
       •      Main optimization objective is YouTube Time but there are constraints:
                 o     video length
                 o     likes/dislikes
                 o     appeal (measured through surveys)
                 o     dismissals


       •      Solution: train multiple objectives




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     Ranking:




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     Ranking:
     Objectives combination function
       •      Tuned to maximize YouTube Time with tradeoffs to secondary objectives




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     Ranking:

     Shortcomings
       •      Tends to generalize poorly
                0         only works well on the trained distribution                                                                                                              (a) Hus ky classified as wolf
                          e.g. language is not an important feature
                                                                                                                                                                          AUTOPLAY        •

                                                                                                                                                            The ascent of Al ex Honnold
                                                                                                                                                            CBSl\ews 0
                                                                                                                                                            45Mviews




                                                                                                                                                            IFSC Boulder World Cup
                                                                                                                                                            2014 · Hard Boulder Move...
                                                                                                                                                            PSYCHED BOULDERING
                                                                                                                                                            1.6Mviews


                                                                                                                                                            Lou Holtz inspirational
                                                                                                                                                            speech
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                                    The! Couple Climbing                                                                                                    Descent
                                    Publ shed on Oct 30, 2018
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        What's wrong with this?




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     What's wrong with trusting users?


       1. [Ab]users can manipulate the system
          ... by mimicking users actions

       2. Real users might be susceptible to manipulation (clickbait, fake news,
          sensationalism)

       3. Real users are reinforcing undesired behavior




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        [Ablusers manipulate the system




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     Analysis source

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       [Ablusers manipulate the system
       -      Behavioral Abuse




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     Behavioral Abuse




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     Examples of behavioral abuse



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     Behavioral abuse:




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       Real users might be susceptible
       to manipulation




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     Users susceptible to manipulation
     Definition of Recommender system


     ML Recommender system is relying on the expertise of most engaged users
     to learn what are the best suggestions for the rest of users.




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     Users susceptible to manipulation
     Relying on users works great for entertainment



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     Users susceptible to manipulation
     Relying on users does not work for controversial topics (XLQ)




                                             3 UNUSUAL WAYS TO USE
                                             APPLE CIDER VINEGAR FO ...




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     Users susceptible to manipulation
     What is different about these topics?
       1. Bad suggestions in controversial content are more damaging to society and
          YouTube brand
       2. Informational clickbait is harder to detect from engagement signals
       3. Controversial topics require far more expertise




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     Users susceptible to manipulation




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     Users susceptible to manipulation




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     Users susceptible to manipulation




                                                    Date




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       Real users reinforcing undesired
       behavior




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     Real users reinforcing undesired behavior
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                                                                                           Rodriguez SWIMWEAR ...
                                                                                           Academia y Agencia de Mod ...
     VOITP                                                                                 649K views



              "Expert" users are creating highly undesired                                 Miss Teen Swimsuit
                                                                                           Competition
                                                                                           Maine Films
              connections between videos                                                   1.5M views


                                                                                           Desfile Oh Soleil en la
                                                                                           Semana de la Moda Bano ...
                                                                                           GranCanariaTv.com
                                                                                           848K views


                                                                                           Traje de Bano - Mini
                                                                                           Venezuela Mundo 2016 -...
                                                                                           JRPTVE
                                                                                           20K views


                                                                                           Desfile t:ete Moda Praia
                                                                                           Verao 2019 no Fashion ...
                                                                                           cete Mada Praia
                                                                                           1.3M views


                                                                                           OhSoleil, Desfile Tenerife
                                                                                           Moda, Colecci6n Verano ...
                                                                                           OhSoleil Marca de ropa infan ...
                                                                                           478K views
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     Real users reinforcing undesired behavior
     Solution




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        Common techniques




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      Notes Summary:
      Notes Summary:

      No speaker notes
      No speaker notes are
                       are contained
                           contained in
                                     in this
                                        this presentation.
                                             presentation.




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